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                                                                                   FILED IN CLERK'S OFFICE
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                                                                                   JA ES N. HATTEN, Clerk
                    IN THE UNITED STATES DISTRICT COURT                            By:               eputy Clerk
                       NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

TAWANA L. CARTER


PlaintitT,

Vs.
                                                       CIVIL ACTION
                                                        FILE NO: 2019-CV-Ott. ,,~

Defendants.
SELECT PORTFOLIO SERVICING, INC.
WELLS FARGO BANK, N.A., AS TRUSTEE
FOR FREMONT HOME LOAN TRUST2005 RR3,
MORTGAGE BACKED CERTIFICATES, SERIES
2005 RR3,


     PLAINTIFFS' MOTION FOR EXTENSION OF TIME TO FILE RESPONSE IN
 OPPOSITION TO DEFENDANTS' MOTION TO DISMISS, NOTICE OF OPPOSITION TO
                   MOTION TO DISMISS WITH PREJUDICE


                                                I
COMES NOW, Plaintiff. Tawana 1. Carter ("Ms. Carter"), and file their Motion

F or Extension of Time. against Defendants as follows:

     PLAINTIFFS' MOTION FOR EXTENSION OF TIME TO FILE RESPONSE IN
 OPPOSITION TO DEFENDANTS' MOTION TO DISMISS, NOTICE OF OPPOSITION TO
                   MOTION TO DISMISS WITH PREJUDICE


        Plaintiff Tawana I. Carter ,Pro Se, file this Motion for Extension of Time for 25 days,

or alternatively, Motion for Extension of Time, Leave To Amend, to File Response in

Opposition to Defendants' Motion To Dismiss and states as follows:
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       1.      In response to Plaintiff's original Complaint, Defendants filed a Motion To

Dismiss due in Oct. , 2019.   Plaintiff Pro Se needs additional time to contact Defendants .

       2.      After a careful review of Defendants' Motion To Dismiss, Demurrer, and

Memorandum of Law, Plaintiffs realize that they need an additional 25 days to respond and

Leave To Amend. Plaintiff is proceeding Pro Se and needs additional time to hire a researcher to

help respond to a Motion to Dismiss. I ask for mercy because I am overwhelmed by the

amount of work this answer will require.

       3.      Because we (Plaintiffs) are pro se, it is taking longer than expected to do the

necessary research. As a result, we (Plaintiffs) request an additional 15 days from Nov. 20, 2019

within which to file a response.

       4.      In the event the Court denies the request for leave to file a response, Plaintiffs

request an additional 15 days to file a Response in Opposition to Defendants' Motion to Dismiss.

       5.      This request is not being made for purposes of delay, and this request will not

prejudice the Defendants in any way.

       WHEREFORE Plaintiff, Pro Se, respectfully requests this Honorable Court grant this

Motion, enter an order granting Plaintiffs an additional 25 days to file an Amended Complaint,

or alternatively, if the Motion for Leave is not allowed, grant an additional 25 days to file a

Response in Opposition to Defendants' Motion To Dismiss, and such other relief this Court

deems just and proper.




                                         Tawana 1. Carter
